      Case 1:22-cv-00519-JFR-JHR Document 1 Filed 07/14/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW MEXICO
                                SANTA FE DIVISION


Nickie Mccarty,                                     Case No.

     Plaintiff,

v.                                                             COMPLAINT

Spire Recovery Solutions, LLC
c/o Corporate Creations Network
350 S. Northwest HWY #300
Park Ridge, IL 60068
                                                    Jury Demand Requested
     Defendant.

                                 JURISDICTION AND VENUE

 1- This court has jurisdiction pursuant to 28 U.S.C. §§1331, 1337, 1367; and 15 U.S.C.

     §1692k(d).

 2- Venue is proper because a substantial part of the events giving rise to this claim occurred

     in this District.

                                          PARTIES

 3- Plaintiff is a resident of the State of New Mexico.

 4- Plaintiff is a “consumer” as defined in the Fair Debt Collection Practices Act, 15 USC

     1692 et seq. (“FDCPA”).

 5- Plaintiff incurred a “Debt” as defined in the FDCPA.

 6- Defendant is a company with its principal office in the State of New York.

 7- Defendant acquired the Debt after it was in default.

 8- Defendant regularly attempts to collects, or attempts to collect, debts that it acquired after

     the same were in default.




                                                1
     Case 1:22-cv-00519-JFR-JHR Document 1 Filed 07/14/22 Page 2 of 3




9- Defendant uses instruments of interstate commerce for its principal purpose of business,

   which is the collection of debts.

10- At all times relevant, Defendant was a “debt collector” as defined in the FDCPA.

                         FACTS COMMON TO ALL COUNTS

11- On or around April 20, 2022, Plaintiff’s attorneys sent a letter to Defendant notifying

   Defendant of Plaintiff’s representation.

12- Despite being notified of Plaintiff’s representation, Defendant communicated with

   Plaintiff at least one (1) time thereafter.

13- By communicating with Plaintiff after being notified of their attorney representation,

   Defendant violated the FDCPA.

14- Defendant actions, directly and proximately, caused undue stress and anxiety for Plaintiff;

   thereby damaging Plaintiff.

                                                 COUNT I

15- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

16- Defendant violated 15 USC § 1692c(a)(2) by communicating with a consumer after

   having notice of attorney representation.

                                            COUNT II

17- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

18- Defendant violated 15 USC § 1692e by engaging in false, deceptive, or misleading

   methods to collect a debt.

                                              COUNT III

19- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.




                                                 2
     Case 1:22-cv-00519-JFR-JHR Document 1 Filed 07/14/22 Page 3 of 3




20- Defendant violated 15 USC § 1692f by engaging in unfair and/or unconscionable means to

    collect, or attempt to collect, the Debt.

                                      JURY DEMAND

21- Plaintiff demands a trial by jury.

                                  PRAYER FOR RELIEF

22- Plaintiff prays for the following relief:

     a. Judgment against Defendant for Plaintiff’s actual damages, as determined at trial,

         suffered as a direct and proximate result Defendant’s violations of the Fair Debt

         Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

     b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s

         violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

         §1692k(a)(2)(A);

     c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs

         incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

     d. Any other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                The Litigation Practice Group

                                                By:/s/ Richard J. Meier
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